Case 3:17-cv-00072-NKM-JCH Document 715 Filed 04/27/20 Page 1 of 2 Pageid#: 10680
                                                            CLERKS OFFICE U.S. DIST. COURT
                                                               AT CHARLOTTESVILLE, VA
                                                                      FILED
                                                                  04/27/2020
                                                               JULIA C. DUDLEY, CLERK
                            UNITED STATES DISTRICT COURT       BY: /s/ J. JONES
                        FOR THE WESTERN DISTRICT OF VIRGINIA       DEPUTY CLERK
                                 Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER and JOHN
    DOE,
                                                          Civil Action No. 3: 17-cv-00072-NKM
                        Plaintiffs,
    v.

    JASON KESSLER, et al.,

                        Defendants.


     ORDER GRANTING PLAINTIFFS’ MOTION TO SEAL SELECT PORTIONS AND
     EXHIBITS TO PLAINTIFFS’ RENEWED MOTION FOR SANCTIONS AGAINST
                     DEFENDANT VANGUARD AMERICA


         WHEREAS, on April 23, 2020, Plaintiffs filed a Renewed Motion for Sanctions Against

  Defendant Vanguard America (“Plaintiffs’ Motion”), ECF No. 713, and did not publicly file

  certain portions of Plaintiffs’ Motion as well as its supporting Exhibits 10, 12, 17, 19 through 24

  and 26 through 28 because they were either designated as Highly Confidential by the producing

  parties or contain Confidential and/or Highly Confidential Information as defined by the Order for

  the Production of Documents and Exchange of Confidential Information entered on January 3,

  2018 (ECF No. 167);

          WHEREAS, Plaintiffs have provided an unredacted copy of Plaintiffs’ Motion and these

  aforementioned supporting exhibits to the Court and moved, pursuant to Local Rule 9, for those

  supporting exhibits to be sealed.
Case 3:17-cv-00072-NKM-JCH Document 715 Filed 04/27/20 Page 2 of 2 Pageid#: 10681




         IT IS HEREBY ORDERED that this motion to seal, ECF No 714, is GRANTED, and

  the Clerk is directed to file the unredacted Plaintiffs’ Motion and its supporting Exhibits 10, 12,

  17, 19, 20, 21, 22, 23, 24, 26, 27, and 28 under seal pursuant to Local Rule 9.

         Dated: April 24, 2020

         SO ORDERED.




                                                __________________________________
                                                Hon. Joel C. Hoppe, M.J.




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